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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ANASTASIA SANCHEZ individually and on behalf of :
others similarly situated,                                             :
                                                                       :
                                    Plaintiff,                         :     21 Civ. 2335 (JPC)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
200 CANDY CORP. d/b/a/ Edible Arrangements and                         :
BAQAR SHAH,                                                            :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        On September 3, 2021, the Court issued an Order scheduling an Order to Show Cause

Hearing regarding Plaintiff’s Motion for Default Judgement on November 16, 2021 at 2:00 p.m.

Dkt. 19. The Court ordered Plaintiff to serve that Order within one week of the date of the Order

and to file proof of service within two business days of service. Id. Plaintiff has not filed proof

of service on the docket. Accordingly, it is hereby ORDERED that Plaintiff shall file proof of

service of the Court’s September 3, 2021 Order by end of day October 29, 2021.

        SO ORDERED.

Dated: October 27, 2021                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
